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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                             )
                                                      )
                                  Plaintiff,          )
                                                      )
v.                                                    )      Case No. 09-20119-02-JWL
                                                      )
ROBERT BENAVIDES FLORES,                              )
                                                      )
                                  Defendant.          )


                                               ORDER

        This matter comes before the undersigned U.S. Magistrate Judge, James P. O’Hara,

on the motion of defendant Robert Benavides Flores for reconsideration of the pretrial

detention order (doc. 43). The parties have indicated that this matter may be resolved

without further hearing. Therefore, the motion is denied without prejudice for reassertion

at a later date should the matter not be resolved.

        IT IS SO ORDERED.

        Dated this 13th day of November, 2009, at Kansas City, Kansas.



                                                 s/ James P. O’Hara
                                                James P. O’Hara
                                                U.S. Magistrate Judge




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